            Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 1 of 31



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                   ALBANY DIVISION

 Nelson Gamache and Edward Nofi,
 individually and on behalf of a class of all
 others similarly situated,

           Plaintiffs,                                     Case No. ________________

 v.                                                      CLASS ACTION COMPLAINT

 John F. Hogue, Jr. and Graham Thompson,
 the Administrative Committee of the
 Technical Associates of Georgia, Inc.
 Employee Stock Ownership Plan, and John
 Does 1-20,

           Defendants,

 and

 Technical Associates of Georgia, Inc.
 Employee Stock Ownership Plan,

       Nominal Defendant.



       Plaintiffs Nelson Gamache and Edward Nofi, by and through their attorneys, allege as

follows:

                                     NATURE OF THE CASE

       1.         This action is brought pursuant to the Employee Retirement Income Security Act

of 1974, as amended (“ERISA”), 29 U.S.C. § 1001 et seq., by Plaintiffs on behalf of a class of

participants in and beneficiaries of the Technical Associates of Georgia, Inc. Employee Stock

Ownership Plan (“the ESOP” or “the Plan”) to restore losses to the Plan and to remedy violations

of ERISA arising out of the Trustees’ self-dealing transactions whereby they gained ownership

interests in Technical Associates of Georgia, Inc. at the expense of the ESOP and its participants.

                                                 1
             Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 2 of 31



Plaintiffs are former, long-serving employees of Technical Associates of Georgia, Inc.

(“Technical Associates” or “the Company”) and current participants in the ESOP whose ESOP

accounts had significant investments in Technical Associates stock.

        2.       Prior to October 2011, the ESOP owned 100% of Technical Associates. In

October 2011, Technical Associates and the ESOP refinanced their debt to the original

shareholders of the Company (“the 2011 Refinancing”). In connection with and sometime after

the 2011 Refinancing, the Trustees of the ESOP – who also were the lead executives of

Technical Associates – secretly obtained a significant ownership interest in Technical Associates

and thereby diluted the ESOP’s ownership interest, and then concealed the dilution of the

ESOP’s interest.

        3.       The ESOP fiduciaries have never disclosed in the ESOP’s filings with the U.S.

Department of Labor that the ESOP no longer owns 100% of the stock of Technical Associates.

No fiduciary of the ESOP disclosed in writing to any participant that the Trustees had acquired

partial ownership of Technical Associates or the ESOP no longer owned 100% of the stock of

Technical Associates until May 2018. In an in-person meeting in September 2016, Plaintiff

Gamache questioned Defendant Thompson about the financial statements in the ESOP’s Form

5500 filings and Defendant Thompson revealed —for the first time—that the ESOP did not own

100% of the Company. Thereafter, in a May 23, 2018 letter responding to a specific inquiry by

Plaintiff Gamache, legal counsel for the Company and the Board of Directors admitted that the

ESOP no longer owned 100% of the Company because lead executives of the Company had

acquired shares. After the ESOP fiduciaries refused to provide any additional information or take

any corrective action, Plaintiffs filed this action.




                                                   2
            Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 3 of 31



       4.       Through this action, Plaintiffs seek to enforce their rights under ERISA and the

Plan, to recover the losses incurred by the Plan and/or the improper profits realized by

Defendants as a result of their breaches of fiduciary duty and prohibited transactions. Plaintiffs

request that these prohibited transactions be declared void, that Defendants be ordered to

disgorge any profits, and that Defendants and any other fiduciaries be required to restore any

losses to the Plan arising from their ERISA violations and that any monies recovered for the Plan

be allocated to the accounts of the Class.

                                   JURISDICTION & VENUE

       5.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because this action arises under the laws of the United States and pursuant to 29 U.S.C.

§ 1132(e)(1), which provides for federal jurisdiction of actions brought under Title 1 of ERISA.

       6.       This Court has personal jurisdiction over Defendants because Defendants transact

business in and have significant contacts with this District, and because ERISA provides for

nationwide service of process pursuant to ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2).

       7.       Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because the ESOP is and was at the relevant times administered in this District, the

breaches and violations giving rise to Plaintiffs’ claims occurred in this District, and all of the

Defendants may be found in this District. Venue is also proper under 28 U.S.C. § 1391(b) and (c)

because a substantial part of the events or omissions giving rise to the claims occurred in this

District, and one or more of the Defendants reside in this District.




                                                  3
            Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 4 of 31



                                            PARTIES

Plaintiffs

       8.       Plaintiff Nelson Gamache is a former employee of Technical Associates. Mr.

Gamache was employed by Technical Associates from February 2001 to June 1, 2018. By

October 2011, Mr. Gamache was a vested participant in the Plan. Mr. Gamache remains a

participant of the ESOP within the meaning of ERISA § 3(7), 29 U.S.C. § 1002(7), because he

still has an account in the Plan and because he has a colorable claim for additional benefits as a

result of Defendants’ breaches and violations. He currently resides in Woodstock, Georgia

       9.       Plaintiff Edward Nofi is a former employee of Technical Associates. Mr. Nofi

was employed by Technical Associates from June 1987 to July 2013. By October 2011, Mr.

Nofi was a vested participant in the Plan. Mr. Nofi is a participant of the ESOP within the

meaning of ERISA § 3(7), 29 U.S.C. § 1002(7), because he has a colorable claim for additional

benefits as a result of Defendants’ fiduciary breaches and violations. He currently resides in The

Villages, Florida.

Defendants

       10.      Defendant John F. Hogue, Jr. is the CEO and President of Operations of

Technical Associates. According to his LinkedIn profile, Hogue has been the President of

Technical Associates from January 2005 to the present. According to annual statements filed

with the Georgia Secretary of State, Hogue was CEO of Technical Associates from at least April

1, 2010 to the present. Based on the Technical Associates of Georgia, Inc. Employee Stock

Ownership Trust Agreement (“Trust Agreement”) dated January 16, 2013, Hogue also is and has

been a Trustee of the ESOP. As one of the Trustees of the ESOP, Hogue is a fiduciary of the

ESOP within the meaning of ERISA § 3(21), 29 U.S.C § 1002(21). Based on a Director Consent



                                                 4
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 5 of 31



of the Board of Directors of the Company dated August 16, 2006, Hogue is and has been a

member of the Technical Associates Board of Directors. Because the Board of Directors has the

power to appoint and remove the Trustees of the ESOP, Defendant Hogue is a fiduciary of the

ESOP within the meaning of ERISA § 3(21), 29 U.S.C § 1002(21). Based on an undated

resolution of the ESOP Administrative Committee bearing the notation “[f]or the year 2009,”

Defendant Hogue is and has been a member of the Administrative Committee since 2009.

Because the Committee is the Plan Administrator, Defendant Hogue is also a fiduciary of the

ESOP within the meaning of ERISA § 3(21), 29 U.S.C § 1002(21). As an officer of Technical

Associates, Defendant Hogue is and has been since at least April 2010 a “party-in-interest”

within the meaning of ERISA § 3(14)(H), 29 U.S.C. § 1002(14)(H). As a fiduciary of the ESOP,

Defendant Hogue is and has been a “party-in-interest” within the meaning of ERISA § 3(14)(A),

29 U.S.C. § 1002(14)(A).

       11.    Defendant Graham Thompson is the CFO and President of Engineering of

Technical Associates. According to annual statements filed with the Georgia Secretary of State,

Thompson has been CFO of Technical Associates from at least April 1, 2010 to the present.

Based on the Trust Agreement, Thompson also is and has been a Trustee of the ESOP. As one of

the Trustees of the ESOP, Hogue is a fiduciary of the ESOP within the meaning of ERISA §

3(21), 29 U.S.C § 1002(21). Based on a Director Consent of the Board of Directors of the

Company dated August 16, 2006, Thompson is and has been a member of the Technical

Associates Board of Directors. Because the Board of Directors has the power to appoint and

remove the Trustees of the ESOP, Defendant Thompson is a fiduciary of the ESOP within the

meaning of ERISA § 3(21), 29 U.S.C § 1002(21). Based on his signing the IRS Form 5550s on

behalf of the ESOP’s Administrative Committee every year since 2009 and on an undated



                                                5
          Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 6 of 31



resolution of the ESOP Administrative Committee bearing the notation “[f]or the year 2009,”

Defendant Thompson is and has been a member of the Administrative Committee. Because the

Committee is the Plan Administrator, Defendant Thompson is also a fiduciary of the ESOP

within the meaning of ERISA § 3(21), 29 U.S.C § 1002(21). As an officer of Technical

Associates, Defendant Thompson is and has been since April 2010 or earlier a “party-in-interest”

within the meaning of ERISA § 3(14)(H), 29 U.S.C. § 1002(14)(H). As a fiduciary of the ESOP,

Defendant Thompson is and has been a “party-in-interest” within the meaning of ERISA §

3(14)(A), 29 U.S.C. § 1002(14)(A).

       12.     Defendants John Does 1-10 are the persons serving on the Administrative

Committee of the ESOP (the “Committee”) from the date that Hogue and Thompson acquired an

ownership interest in Technical Associates to the present, whose identities are unknown to

Plaintiffs. Even though the Plan requires the Company to identify the members of the

Committee, none of the disclosures provided to Plaintiffs, or upon information and belief to other

participants, identifies the members of the Committee. Once their identities are ascertained,

Plaintiffs will substitute their names.

       13.     Defendants John Does 11-20 are persons serving on the Board of Directors from

the date that Hogue and Thompson acquired an ownership interest in Technical Associates to the

present, whose identities are unknown to Plaintiffs. None of the disclosures provided to Plaintiffs

names the members of the Board of Directors, and Plaintiffs have been unable to locate any

public filing that discloses the identities of the Board of Directors. Once their identities are

ascertained, Plaintiffs will substitute their names.

       14.     The “Committee Defendants” refers collectively to the Committee itself, to

Defendants Hogue and Thompson, and to the other individual members of the Committee



                                                  6
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 7 of 31



between the date on which Hogue and Thompson received shares of Technical Associates stock

and the present. As the Committee is the Plan Administrator according to the Section 8.2 of the

Plan Document, the Committee Defendants are fiduciaries of the ESOP within the meaning of

ERISA § 3(21), 29 U.S.C § 1002(21).

       15.     The “Director Defendants” refers to Defendants Hogue and Thompson and the

other unknown members of the Board of Directors between the date on which Hogue and

Thompson received shares of Technical Associates stock and the present. As the Board of

Directors has the power to appoint and remove the Trustees of the ESOP, the Director

Defendants are fiduciaries of the ESOP within the meaning of ERISA § 3(21), 29 U.S.C §

1002(21).

       Nominal Defendant

       16.     The Technical Associates of Georgia, Inc. Employee Stock Ownership Plan (the

“ESOP”) is an “employee pension benefit plan” within the meaning of ERISA § 3(2)(A), 29

U.S.C. § 1002(2)(A). The ESOP purports to be a “defined contribution plan” within the meaning

of ERISA § 3(34), 29 U.S.C. § 1002(34) and an employee stock ownership plan under ERISA §

407(d)(6), that was intended to meet the requirements of Section 4975(e)(7) of the Internal

Revenue Code (the “Code”) and IRS Regulations § 54.4975-11. The written instrument by which

the Plan is maintained within the meaning of ERISA § 402, 29 U.S.C. § 1102, (colloquially

referred to as the “Plan Document”) is the “Technical Associates of Georgia, Inc. Employee

Stock Ownership Plan as Amended and Restated Generally Effective as of January 1, 2013” (the

“2013 Plan Document”). According to the 2013 Plan Document, there was a prior Plan

Document which the Plan Administrator has declined to provide; however, the relevant

provisions are believed to be substantially similar to the 2013 Plan Document. The ESOP is



                                                7
           Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 8 of 31



named as a nominal defendant pursuant to Federal Rule of Civil Procedure 19 to ensure that

complete relief can be granted as to claims brought on behalf of the ESOP.

                                        CLASS ALLEGATIONS

       17.     Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of the following Class:

       Participants in the Technical Associates ESOP on or after the date stock was

       issued to Defendants Hogue and Thompson in connection with the 2011

       Refinancing who vested under the terms of the Plan (or ERISA) and those

       participants’ beneficiaries.

Excluded from the Class are Defendants and their immediate families, any other fiduciary of the

Plan and his or her immediate family; the officers and directors of Technical Associates and their

immediate family, and legal representatives, successors, and assigns of any such excluded

persons.

       Impracticality of Joinder.

       18.     The members of the Class are so numerous that joinder of all members is

impracticable. According to the Form 5500 that Technical Associates filed with the Department

of Labor for the year ending December 31, 2011, the ESOP had 245 participants at the beginning

of the plan year and 332 participants at the end of the plan year. According to the Form 5500 that

Technical Associates filed with the Department of Labor for the year ending December 31, 2017,

which is the most recent Form 5500 available, the ESOP had 392 participants at the beginning of

the plan year and 353 participants at the end of the plan year. Most, if not all, of the ESOP

participants likely had at least one beneficiary because every married participant had at least one




                                                 8
          Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 9 of 31



beneficiary (i.e. a spouse) and some participants likely designated more than one beneficiary. As

such, the class consists of at least several hundred persons.

       19.     Additionally, the website of Technical Associates identifies the following

corporate locations: Albany, Georgia; Atlanta, Georgia; Jacksonville, Florida; Alexandria,

Louisiana; Columbus, Ohio; Cleveland, Tennessee; and Jackson, Tennessee. Accordingly, the

participants of the ESOP are likely located in these locations. Joinder is impracticable because

Class members are geographically dispersed.

       Commonality:

       20.     The issues of liability are common to all members of the Class and are capable of

common answers as those issues primarily focus on Defendants’ acts. The common issues

include whether Defendants breached fiduciary duties to the ESOP, whether Defendants engaged

in prohibited transactions, and the appropriate relief for Defendants’ violations of ERISA.

       Typicality:

       21.     Plaintiffs’ claims are typical of the claims of other members of the Class because

their claims arise from the same event, practice and/or course of conduct. Specifically, Plaintiffs,

on behalf of the Class, alleged that Defendants engaged in prohibited transactions and breaches

of fiduciary duty in connection with the 2011 Refinancing.

       22.     Plaintiffs’ claims are also typical of the claims of other members of the Class

because the relief sought consists of requiring Defendants to make the Plan whole for any losses

caused by their fiduciary breaches and to disgorge their profits to the Plan. Any such recovery

from Defendants will be paid to the Plan and any relief will flow to all Class Members through

their accounts in the Plan.




                                                  9
          Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 10 of 31



         Adequacy

         23.    Plaintiffs will fairly and adequately represent and protect the interests of the

Class.

         24.    Plaintiffs do not have any interests antagonistic to or in conflict with those of the

Class.

         25.    Defendants have no unique defenses against Plaintiffs that would interfere with

Plaintiffs’ representation of the Class.

         26.    Plaintiffs are represented by counsel with extensive experience prosecuting

ERISA class actions and with particular experience and expertise in ESOP litigation.

         Rule 23(b)(1)

         27.    The requirements of Fed. R. Civ. P. 23(b)(1)(A) are satisfied. Fiduciaries of

ERISA-covered plans have a legal obligation to act consistently with respect to all similarly

situated participants and to act in the best interests of the Plan and its participants. This action

challenges whether Defendants acted consistently with their obligations under ERISA as to the

Technical Associates ESOP as a whole. As a result, prosecution of separate actions by individual

members would create the risk of inconsistent or varying adjudications that would establish

incompatible standards of conduct relating to the Plan.

         28.    The requirements of Fed. R. Civ. P. 23(b)(1)(B) are also satisfied. Administration

of an ERISA-covered plan requires that all similarly situated participants be treated the same.

Resolving whether Defendants engaged in prohibited transactions with respect to the Plan and

fulfilled their fiduciary obligations to the Plan would, as a practical matter, be dispositive of the

interests of the other participants in the Technical Associates ESOP even if they are not parties to




                                                  10
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 11 of 31



this litigation and would substantially impair or impede their ability to protect their interests if

they are not made parties to this litigation by being included in the Class.

       Rule 23(b)(2)

       29.     The requirements of Fed. R. Civ. P. 23(b)(2) are satisfied as to the Class because

Defendants have acted and/or failed to act on grounds generally applicable to the Class, making

declaratory and injunctive appropriate with respect to the Class as a whole. This action

challenges whether Defendants engaged in prohibited transactions, which would be violations of

ERISA as to the ESOP as a whole and as to the Class as a whole. The relief sought in this case

primarily consists of declarations that Defendants engaged in prohibited transactions or breached

their fiduciary duties. As ERISA is based on trust law, any monetary relief consists of equitable

monetary relief that would either flow directly by the declaratory or injunctive relief or flows as

a necessary consequence of that relief.

       Rule 23(b)(3)

       30.     The requirements of Fed. R. Civ. P. 23(b)(3) are also satisfied. The common

questions of law and fact concern whether Defendants engaged in prohibited transactions or

breached their fiduciary duties to the ESOP. As the members of the Class were participants in

that Plan, their accounts were affected by those breaches and violations. Common questions

related to liability will necessarily predominate over any individual questions precisely because

Defendants’ duties and obligations were uniform to all participants and therefore all members of

the Class. As relief and any recovery will be on behalf of the Plan, common questions as to

remedies will likewise predominate over any individual issues.

       31.     A class action is a superior method to other available methods for the fair and

efficient adjudication of this action. As the claims generally are brought on behalf of the Plan,



                                                  11
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 12 of 31



resolution of the issues in this litigation will be efficiently resolved in a single proceeding rather

than multiple proceedings and each of those individual proceedings could seek recovery for the

entire Plan. Class certification is a superior method of proceeding because it will obviate the

need for unduly duplicative litigation which might result inconsistent judgments about

Defendants’ duties with regard to the ESOP.

       32.     The following factors set forth in Rule 23(b)(3) also support certification:

               a.        The members of the Class have an interest in a unitary adjudication of the

               issues presented in this action for the reasons that this case should be certified

               under Rule 23(b)(1).

               b.        No other litigation concerning this controversy has been filed by any other

               members of the Class.

               c.        This District is the most desirable location for concentrating this litigation

               because (i) Technical Associates is located in this District; (ii) the Technical

               Associates ESOP is administered in this District; (iii) Defendants Hogue and

               Thompson are located in this District; (iv) a significant number if not the majority

               of the Class members are located in this District, and (v) a number of the

               witnesses, including a number of relevant non-party witnesses, are expected to be

               located in this District.

               d.        There are no anticipated difficulties in managing this case as a class

               action.

                                    FACTUAL ALLEGATIONS

       33.     Technical Associates of Georgia, Inc. is a Georgia corporation, formed in 1980.

According its Articles of Incorporation dated September 20, 1980, Technical Associates was



                                                   12
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 13 of 31



organized for the purpose of, among other things, providing “contract technical and maintenance

services for industry and industrial support related companies,” and its initial board of directors

consisted of Randall E. Wages and Stephen H. Harrison.

       34.     According to Section 1.2 of the Plan Document, the Plan was originally

established effective January 1, 2006. According to correspondence from James H. Moore, III,

counsel for Technical Associates and its Board of Directors, to Plaintiff Nelson Gamache dated

May 23, 2018 (the “May 23, 2018 Letter”), the ESOP “was established in August 2006 as a

method by which the ownership interests in the Company of the [selling shareholders] … could

be purchased, after which time they retired from active involvement in the Company’s day to day

operations and their responsibilities were assumed by co-lead executives, John Hogue and

Graham Thompson.”

       The Fiduciaries of the ESOP

       35.     According to Section 1.4 of the Plan Document, the ESOP is administered by an

Administrative Committee. According to Section 8.2 of the Plan Document, the Committee is

appointed by the Board of Directors and performs the day-to-day administration of the Plan.

Section 8.2 of the Plan Document provides that “the Company will notify … the Participants of

the Committee’s membership.” Despite that provision, Plaintiffs are unaware of receiving any

such notification about the membership of the Committee. The Summary Plan Description

(“SPD”) which is distributed to participants affirmatively states that the “Board of Directors has

appointed the Administrative Committee” to act on behalf of the Company in performing

administrative duties with respect to the Plan, but does not identify the members of the

Committee. Based on Thompson signing the Form 5550s on behalf of the Administrative




                                                 13
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 14 of 31



Committee every year since 2009, Defendant Thompson is a member of the Administrative

Committee.

       36.     According to Section 1.5 of the Plan Document, funds contributed to the Plan are

held and invested in a trust by one or more Trustees appointed by Technical Associates and in

accordance with the terms of one or more trust agreements. According to Section 2.3 of the Trust

Agreement, the powers, rights, and duties of the Trustees include to receive and hold plan

contributions, to vote any stocks held by the Plan, and to perform any and all acts necessary or

appropriate for the proper management, investment and distribution of the Trust. Based on the

Trust Agreement, Defendants Hogue and Thompson are the Trustees of the ESOP.

       37.     According to Section 8.2 of the Plan Document, the Board of Directors of

Technical Associates is responsible for appointing the Administrative Committee. According to

the recitals to the Trust Agreement, the Board of Directors of Technical Associates is responsible

for appointing the Trustees of the ESOP. On information and belief, both Defendant Hogue and

Defendant Thompson are members of the Board of Directors of Technical Associates.

       The ESOP’s Purchase of Company Stock

       38.     Based on the ESOP’s 2009 through 2014 Form 5500 filings—which are annual

reports and financial statements for employee benefit plans filed under penalty of perjury by the

Plan Administrator with the Department of Labor and the Department of the Treasury, but are

not distributed to plan participants unless specifically requested in writing by a specific

participant—the ESOP purchased all the outstanding stock of the Company from Randall Wages

and Stephen Harrison (the “Selling Shareholders”) in 2006. The Form 5500s for the Technical

Associates ESOP were not provided to the ESOP participants unless a participant made a

specific request for them. Based on those Form 5500s, the ESOP made this purchase using a



                                                 14
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 15 of 31



cash contribution from the Company in the amount of $1.5 million and term loans from the

Selling Shareholders in the amount of $16.0 million.

       39.     From the 2006 purchase of Technical Associates until sometime after the 2011

Refinancing, the ESOP owned 100% of the outstanding shares of the Company. In the

September 2016 meeting between Plaintiff Gamache and Defendant Thompson, Thompson

revealed for the first time to Plaintiff Gamache that the ESOP no longer owned 100% of the

Company. This was the first known disclosure by any ESOP fiduciary to any ESOP participant

(other than Defendants themselves) that the ESOP had ceased to own 100% of the shares of

Technical Associates. In the May 23, 2018 Letter, the Board disclosed to Plaintiff Gamache that

the ESOP had ceased to own 100% of the stock of Technical Associates as part of a refinancing

that occurred in 2011, the first known written disclosure of that fact to any ESOP participant.

       The 2011 Refinancing of the ESOP Loan

       40.     According to the ESOP’s Form 5500 filings, all the outstanding debt to the

Selling Shareholders was refinanced in 2011. The Company entered into a debt agreement with

Atlantic Capital Bank and entered into a note payable with the Plan in the amount of the previous

balance owed to the Selling Shareholders. The Plan used the proceeds of the loan to repay the

Selling Shareholders.

       41.     In the May 23, 2018 Letter, the Board of Directors stated that “[i]n 2011 the

Company and” an unknown and undisclosed ESOP Trustee “determined to refinance the debt

related to the initial transaction, among other reasons, to obtain a more favorable interest rate.”

       42.     In the May 23, 2018 Letter, the Board of Directors also disclosed that in

connection with the 2011 Refinancing, “additional stock was made available to key executives.”




                                                 15
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 16 of 31



       43.     Based on the statement by the Board of Directors in the May 23, 2018 Letter that

the stock was provided to “key executives,” and the statement in that letter that Hogue and

Thompson were the “co-lead executives,” the key executives who received stock as part of or

sometime after the 2011 Refinancing were Defendants Hogue and Thompson.

       44.     According to the May 23, 2018 Letter, the total number of authorized shares was

increased because the number of authorized shares was “insufficient to allow stock to be issued

as necessary in connection with the 2011 financing.” Consistent with that statement, on August

22, 2011, Mr. Hogue signed and filed the Company’s amended Articles of Incorporation to

provide authority for the Company to issue up to 300,000 shares of common stock.

       45.     In the May 23, 2018 Letter, the Company and the Board of Directors refused to

state the precise percentage interest of the ESOP in 2018, but only would state that the “ESOP

continues to own a majority of the outstanding stock in the Company.” Based on the statement

by Defendant Thompson in September 2016, following the 2011 Refinancing the collective

interest of Defendants Hogue and Thompson in Technical Associates amounted to approximately

40% of the Company and had a value of approximately $8 million.

       46.     The issue of new common stock to Defendants Hogue and Thompson in

connection with or following the 2011 Refinancing diluted the value of the Technical Associates

stock held by the ESOP and the value of its participants’ interests in the Company.

       47.     According to the ESOP’s 2012 Form 5500 filing, in December 2012 the Company

refinanced its debt to Atlantic Capital Bank with SunTrust Bank.

       48.     In 2013, the Company began issuing dividends on its common stock for the first

time since 2006, as documented by the ESOP’s Form 5500 filings. Upon information and belief,

as shareholders, Defendants Hogue and Thompson also received dividends in 2013 as a result of



                                               16
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 17 of 31



their ownership of Technical Associates stock. The payment of dividends in 2013 to Hogue and

Thompson has never been disclosed to the participants of the ESOP.

       49.     The Company continued to issue dividends through at least 2017, as documented

by the ESOP’s Form 5500 Filings. Upon information and belief, as shareholders, Defendants

Hogue and Thompson also received dividends in 2014, 2015, 2016 and 2017 as a result of their

ownership of Technical Associates stock. The payment of dividends in 2014 through 2017 to

Hogue and Thompson has never been disclosed to the participants of the ESOP.

Defendants Engaged in Fraud or Concealment to Hide their Acquisition of Stock

       50.     Defendants Hogue and Thompson took affirmative steps to conceal from the

ESOP participants that Hogue and Thompson had received Technical Associates stock and that

the receipt of this stock would dilute the value of the stock held by the ESOP.

       51.     In August 2016, Mr. Gamache and Defendant Thompson met at the Company’s

Albany office to discuss Mr. Gamache’s compensation. During this meeting, Thompson stated to

Mr. Gamache that he could learn more about the ESOP by reviewing the Form 5500 filings

available from the Department of Labor’s website. In September 2016, Mr. Gamache and

Defendant Thompson again met at the Company’s Albany office. In response to questioning

from Mr. Gamache about the substance of the Form 5500 filings and the ESOP’s financial

statements, Thompson revealed at this meeting—for the first time—that the ESOP did not own

100% of the Company. Rather, Thompson explained, Defendants Thompson and Hogue

collectively held a 40% interest in the Company.

       52.     After the September 2016 meeting with Defendant Thompson, Mr. Gamache

began to undertake an investigation to determine when and how Defendants Thompson and

Hogue had come to be part-owners of the Company. Among other things, Mr. Gamache



                                                17
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 18 of 31



obtained a copy of the Amended Articles of Incorporation that authorized the issuance of

additional shares. In addition, Mr. Gamache attempted to and did obtain certain other documents

in an effort to ascertain the circumstances surrounding this acquisition of Company stock by Plan

fiduciaries and whether this acquisition of stock violated the law.

       53.     As part of this investigation, Mr. Gamache reviewed the Form 5500s that were

filed with the Department of Labor and other documents that he had been provided as a

participant in the ESOP. Yet, Mr. Gamache was unable to find any document that disclosed that

the ESOP owned anything less than 100% of the Company. Further, until Mr. Gamache

informed him that the ESOP did not own 100% of Technical Associates (sometime after the

meeting with Thompson), Mr. Nofi was unaware that the ESOP did not own 100% of the

Company.

       54.     After the 2011 Refinancing, the Form 5500s for 2011 through 2014, which were

signed under penalty of perjury by Graham Thompson and filed with the Department of Labor

and Department of Treasury, continued to state in Note 6 to the Financial Statements that the

ESOP had “purchased all of the outstanding stock of the Company from its two former

shareholders.” These repeated statements were misleading because nothing in the Form 5500s

between 2011 and 2017 (the last of which was filed on October 3, 2018 and is the most recent

available Form 5500) disclosed that the ESOP, despite having purchased 100% of the stock of

the Company in 2006, owned anything less than 100% of the Company. These repeated

statements created the false impression that the ESOP continued to own 100% of the Company.

       55.     The 2011 Form 5500, signed under penalty of perjury by Defendant Thompson,

affirmatively stated on Part IV Line 4(d) that there were no non-exempt transactions with any

party-in-interest. Additionally, Note 7 of the Financial Statements to the 2011 Form 5500,



                                                18
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 19 of 31



entitled “Related Party Transactions,” fails to disclose the existence of any acquisition of stock

by any key executives, all of whom would have been parties-in-interest. These statements were

false and/or misleading because the acquisition of stock by Defendants Hogue and Thompson in

connection with the 2011 Refinancing constituted non-exempt transactions with parties-in-

interest, and these statements had the effect of concealing the acquisition of stock by such

parties-in-interest in the 2011 Refinancing.

       56.     As employees who spent many years working at Technical Associates who were

employed in 2006 when the ESOP initially purchased shares of the Company, Plaintiffs were

informed around the time of the initial ESOP transaction that the ESOP purchased 100% of

Technical Associates and were subsequently reminded that the ESOP owned 100% of the

Company. Defendants Thompson and Hogue, as well as other management of Technical

Associates, informed Plaintiffs and other participants on multiple occasions over the course of

subsequent years that the Company was “ESOP-owned” or “employee-owned.” Defendant

Thompson repeatedly stated to employees in staff meetings that “this is your company” and

“you’re the owners.” These statements were false and/or misleading after 2011 because

following the 2011 Refinancing and the issuing of additional stock to Defendants Hogue and

Thompson, the Company was only partially owned by the ESOP, while Thompson’s statements

created the false impression that the ESOP still owned 100% of the Company.

       57.     At a 2014 staff meeting at the Company’s Albany office attended by Plaintiff

Gamache, Defendant Thompson was asked about depreciation in the value of the ESOP over the

prior two years. Defendant Thompson described this depreciation as the result of “bank

juggling.” This statement was false and/or misleading, because the depreciation in the value of




                                                 19
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 20 of 31



the ESOP was due, at least in part, to the dilution of its value in connection with Defendants

Thompson and Hogue’s acquisition of a 40% interest in the Company.

       58.     Until the September 2016 meeting between Mr. Gamache and Defendant

Thompson, no fiduciary of the ESOP ever informed either Plaintiff that the ESOP ceased to own

100% of the Company. Until the May 23, 2018 Letter, no fiduciary of the ESOP ever disclosed

in writing to either Plaintiff or any other participant (other than Defendants themselves) that the

ESOP ceased to own 100% of the Company.

       59.     The May 23, 2018 Letter on behalf of the Board of Directors admitted that the

fiduciaries of the ESOP, including the ESOP Trustees Hogue and Graham, had never

“inform[ed]” “the “ESOP participants” that the ESOP Trustees had acquired and owned

Technical Associates stock outside the ESOP (i.e. other than as participants in the ESOP). This

decision to conceal changes in the ownership structure of the Company from participants was

misleading because participants had previously been told that the ESOP owned 100% of the

Company and were consistently told that they remained “the owners” – implicitly, the sole

owners – of Technical Associates. Additionally, the failure to disclose the change in ownership

structure was designed to and did conceal the prohibited transactions through which Plan

fiduciaries acquired interest in the Company and diluted the value of the ESOP’s shares.

       60.     As a result of their concealment of this information about their acquisition and

ownership of Company stock following the 2011 Refinancing, Defendants Hogue and Thompson

were able to hide their ownership and siphon not only ownership but also dividends away from

ESOP participants. Additionally, concealment by Defendants Hogue and Thompson and the

Committee Defendants of the fact that Hogue and Thompson had obtained stock ownership in

the 2011 Refinancing was done to prevent participants in the ESOP from challenging this



                                                 20
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 21 of 31



conflicted transaction and prevented Plaintiffs from challenging the transaction shortly after the

acquisition.

Plaintiffs Have Adequately Exhausted Their Administrative Remedies

       61.     On April 16, 2018, Mr. Gamache sent a letter to the Company, via the Board of

Directors, raising his concerns that the ESOP Trustees had acquired an ownership interest in the

Company to the detriment of the ESOP and its participants and requesting that action be taken to

remedy this issue, including by removing the ESOP Trustees.

       62.     The Company and its Board of Directors responded to Mr. Gamache by their May

23, 2018 Letter. In that letter, the Company and the Board took the position that providing stock

to the key executives – which, based on statements that Hogue and Thompson were the co-lead

executives, included Hogue and Thompson – in connection with the 2011 Refinancing was

proper and that there was no requirement to inform the participants that the ESOP no longer

owned 100% of the Company.

       63.     On May 24, 2018, Mr. Gamache responded by requesting further clarification of

the information in the May 23, 2018 Letter.

       64.     In response to Mr. Gamache’s May 24, 2018 email, counsel for the Company and

the Board responded on May 25, 2018 that the Company and “the Board will not be providing

[him] with additional information and will not respond further to [his] inquiries.”

       65.      Based on the Company and Board’s refusal to take any action in response to Mr.

Gamache’s inquiry and the refusal of the Company and the Board to respond to further inquiries

by Mr. Gamache, any attempt at further exhaustion of remedies by Mr. Gamache would have

been futile. For similar reasons, had Mr. Nofi or other Class members raised similar questions

and made similar requests, the Company and the Board would have responded similarly. As



                                                21
           Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 22 of 31



such, any attempt at exhaustion by Mr. Nofi and other class members would have also been

futile.

          66.   Without the cooperation of the Board or the Company, Mr. Gamache continued

his investigation, including by filing a Freedom of Information Act request with the Department

of Labor on October 1, 2018. The Department of Labor purportedly issued a letter that provided

responsive, non-exempt documents on November 5, 2018; however, the documents were not

delivered to Mr. Gamache until January 10, 2019.

                                          COUNT I
                           Prohibited Transactions in Violation of
                      ERISA § 406(b)(1) & (3), 29 U.S.C. § 1106(b)(1) & (3)
                          Against Defendants Hogue and Thompson

          67.   Plaintiffs incorporate and re-allege by reference each of the foregoing paragraphs

as if fully set forth herein.

          68.   ERISA § 406(b), 29 U.S.C. § 1106(b) provides in relevant part that (1) “a

fiduciary with respect to a plan shall not deal with the assets of the plan in his own interest or for

his own account” and (3) “a fiduciary with respect to a plan shall not receive any consideration

for his own personal account from any party dealing with such plan in connection with a

transaction involving the assets of the plan.”

          69.   As members of the Board of Directors, as members of the Administrative

Committee that served as the Plan Administrator, and as the Trustees of the ESOP, Defendants

Hogue and Thompson were both fiduciaries of the Plan at the time of the 2011 Refinancing.

          70.   Defendants Hogue and Thompson each acquired Company stock and subsequent

payment of dividends as a result of the 2011 Refinancing. By receiving such consideration,

Defendants Hogue and Thompson dealt with the assets of the Plan in their own interest and/or

for their own account in violation of ERISA § 406(b)(1), 29 U.S.C. § 1106(b)(1).


                                                  22
          Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 23 of 31



        71.     Based on the May 23, 2018 letter, Defendants Hogue and Thompson each

received consideration for themselves as part of the 2011 refinancing, which was a transaction

involving the assets of the Plan, from a party dealing with the Plan in that transaction.

        72.     By acquiring Technical Associates stock as part of or in connection with the 2011

Refinancing, Defendants Hogue and Thompson each received consideration for their personal

account from the Company, a party dealing with the Plan in connection with the 2011

Refinancing, a transaction involving the assets of the Plan, in violation of ERISA § 406(b)(3), 29

U.S.C. § 1106(b)(3).

                                          COUNT II
                            Prohibited Transactions in Violation of
                         ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D)
                           Against Defendants Hogue and Thompson

        73.     Plaintiffs incorporate and re-allege by reference each of the foregoing paragraphs

as if fully set forth herein.

        74.     ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D), provides that “a fiduciary with

respect to a plan shall not cause the plan to engage in a transaction, if he knows or should know

that such transaction constitutes a direct or indirect . . . transfer to, or use by or for the benefit of,

a party in interest, of any assets of the plan and a party in interest.”

        75.     ERISA § 3(14)(A), 29 U.S.C. § 1002(14)(A) defines a “party in interest” to

include “any fiduciary . . . of such employee benefit plan” as well as “an employer any of whose

employees are covered by such plan.” As members of the Board of Directors, members of the

Committee and/or as Trustees, Defendants Hogue and Thompson were fiduciaries of the ESOP

at the time of the 2011 Refinancing and were parties in interest pursuant to ERISA § 3(14)(A).

        76.     ERISA § 3(14)(H), 29 U.S.C. § 1002(14)(H), defines a “party in interest” to

include “an employee, officer, director (or an individual having powers or responsibilities similar


                                                    23
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 24 of 31



to those of officers or directors) of a person described in subparagraph” (C). Subparagraph (C)

refers to ERISA § 3(14)(C), 29 U.S.C. § 1002(C), which defines a party in interest to include “an

employer any of whose employees are covered by such plan.” As officers and/or members of the

Board of Directors of Technical Associates at the time of the 2011 Refinancing, Defendants

Hogue and Thompson were parties in interest pursuant to ERISA § 3(14)(H).

       77.     To the extent that Defendants Hogue and Thompson were the fiduciaries in 2011

that caused the ESOP to enter into the 2011 Refinancing, which included the issue of Company

stock to both Defendants, this constituted a transfer and use of the assets of the Plan to and for

the benefit of Defendants Hogue and Thompson. By causing the Plan to enter into the 2011

Refinancing, Hogue and Thompson caused the plan to engage in a prohibited transaction in

violation of ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D).

       78.     To the extent that another fiduciary caused the ESOP to enter into the 2011

Refinancing, Defendants Hogue and Thompson as parties-in-interest can be held liable for

knowing participation in these violations of ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D),

pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3). As parties to the transaction, officers of

the Company and/or fiduciaries of the ESOP, Defendants Hogue and Thompson knew all of the

facts sufficient to know that the 2011 Refinancing constituted a direct or indirect transaction

between the ESOP and themselves as parties-in-interest. As such, Defendants Hogue and

Thompson are liable for knowing participation in the 2011 Transaction and appropriate equitable

relief can and should be awarded against them regardless of whether they were the fiduciaries

who caused the ESOP to engage in the transactions.




                                                 24
           Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 25 of 31



                                          COUNT III
                            Breach of Fiduciary Duty Pursuant to
                ERISA § 404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1) (A) and (B)
              And Co-Fiduciary Liability Pursuant to ERISA § 405, 29 U.S.C. § 1105
                              Against the Committee Defendants

        79.      Plaintiffs incorporate and re-allege by reference each of the foregoing paragraphs

as if fully set forth herein.

        80.      ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), requires that a plan fiduciary

discharge his or her duties with respect to a plan solely in the interest of the participants and

beneficiaries and (A) for the exclusive purpose of (i) providing benefits to participants and their

beneficiaries; and …. (B) with “care, skill, prudence, and diligence.”

        81.      ERISA § 405, 29 U.S.C. § 1105, makes a fiduciary of a Plan liable for another

fiduciary of the same plan’s breach when (2) “by his failure to comply with section 404(a)(1) in

the administration of his specific responsibilities which give rise to his status as a fiduciary, he

has enabled such other fiduciary to commit a breach;” or (3) “he has knowledge of a breach by

such other fiduciary, unless he makes reasonable efforts under the circumstances to remedy the

breach.”

        82.      Pursuant to Section 8.5(f) of the Plan Document, the Administrative Committee

has the power and duties necessary “to discharge its obligations under the Plan and Trust

Agreement, including, but not limited to… to appoint or employ providers of legal services to

assist in the administration of the Plan.”

        83.      As fiduciaries of the ESOP with the powers to bring actions on behalf of the Plan,

the members of the Administrative Committee had the ability to bring actions on behalf of the

Plan pursuant to ERISA § 502(a)(2) and ERISA § 502(a)(3).




                                                  25
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 26 of 31



        84.    Among the assets of an employee benefit plan under ERISA is a “chose in action”

– the right to bring an action to recover a debt, money or a thing – including to institute a lawsuit

for a breach of fiduciary duties or other violations. ERISA fiduciaries are prohibited from

engaging in transactions under ERISA § 406(a) or 406(b) unless there is an exception or

exemption, and a claim can be brought on behalf of the Plan against an ERISA fiduciary who

engages in such prohibited transactions. As a result, one of the assets of the Plan was a claim

against Hogue and Thompson for engaging in prohibited transactions for their own benefit as set

forth in Count I and Count II. By virtue of the power pursuant to the Plan, the Committee

Defendants had the authority to institute the claims set forth in Counts I and II on behalf of the

Plan.

        85.    Each of the Committee Defendants either knew or through a proper review would

have discovered that Defendants Hogue and Thompson engaged in prohibited transactions in

violation of ERISA as set out in Count I and Count II and that as a result the Plan was harmed

(and either incurred significant losses or was entitled to disgorgement of profits), because each of

the Committee Defendants had knowledge of the terms of the 2011 Refinancing, participated in

the approval of the same, or through a prudent and loyal investigation in their role as a member

of the Administrative Committee would have discovered these self-dealing transactions.

        86.    None of the Committee Defendants took any action, including any legal action, or

exercised any other authority under the Plan Document or the Trust Agreement, to properly

manage this chose in action.

        87.    By failing to remedy these prohibited transactions on behalf of the Plan, including

by, if necessary, bringing suit against Defendants Hogue and Thompson, the Committee

Defendants violated ERISA §§ 404(a)(1)(A) and (B), 29 U.S.C. §§ 1104(a)(1)(A).



                                                 26
          Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 27 of 31



        88.     Because their fiduciary duties included employment of legal advisors, the

Committee Defendants failed to comply with ERISA § 404(a)(1) in the administration of their

specific responsibilities as fiduciaries, and this failure enabled Defendants, Hogue and

Thompson to violate ERISA in their acquisition of Technical Associates stock, their continued

ownership of Technical Associates stock and their receipt of dividends from that stock. By

failing to comply with their fiduciary duties, the Committee Defendants are liable under ERISA

§ 405(a)(2), 29 U.S.C. § 1105(a)(3).

        89.     As a result of their positions as executives of Technical Associates, and/or

because Section 8.5(b) and (c) of the Plan Document entitled them to information necessary for

proper administration of the Plan, the Committee Defendants had or would have had knowledge

of ERISA violations by Defendants Hogue and Thompson, specifically that they had received

stock in connection with the 2011 Refinancing. As the Committee Defendants have not taken

reasonable efforts to date to remedy these violations, the Committee Defendants are liable

pursuant to ERISA § 405(a)(3), 29 § U.SC. 1105(a)(3).

        90.     As a result of the Committee Defendants’ breaches, the Plan suffered losses

and/or Defendants Hogue and Thompson obtained profits that rightfully belong to the ESOP and

its participants. Accordingly, the ESOP participants who are members of the Class

correspondingly suffered losses to their individual accounts.

                                        COUNT IV
                           Breach of Duty to Monitor Pursuant to
                  ERISA § 404(a)(1)(A) & (B), 29 U.S.C. § 1104(a)(1)(A) & (B)
                              Against the Director Defendants

        91.     Plaintiffs incorporate and re-allege by reference each of the foregoing paragraphs

as if fully set forth herein.




                                                 27
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 28 of 31



       92.     Pursuant to Section 1.5 of the Plan Document, the recitals of the Trust Document,

and Section 6.2 of the Trust Document, the Board of Directors of Technical Associates appointed

the Trustees and had the power to remove them. Pursuant to that authority, the Director

Defendants had a duty to monitor the Trustees’ conduct and to take appropriate action if those

fiduciaries were not adequately protecting the interests of the ESOP participants, including

removing the Trustees and/or correcting any breaches.

       93.     The Director Defendants had knowledge of the terms of the 2011 Refinancing

because they participated in and/or had access to the terms of the 2011 Refinancing, and because

any reasonable system for monitoring the Trustees would have revealed that Defendants Hogue

and Thompson had obtained Technical Associates stock in connection with the 2011

Refinancing. To the extent that the Director Defendants did not actually know of the facts

regarding prohibited transactions by Defendants Hogue and Thompson, the Director Defendants

either did not conduct a proper review of the Trustees’ performance or had a deficient system of

monitoring the Trustees actions at regular intervals.

       94.     The Director Defendants knew or, if they had properly exercised their duty to

monitor pursuant to prudent monitoring procedures in place, would have known that Defendants

Hogue and Thompson engaged in prohibited transactions and caused the ESOP to engage in

prohibited transactions in violation of ERISA as set forth in Count I and Count II

       95.     The Director Defendants nonetheless took no steps to protect Plan participants or

otherwise remedy the violations.

       96.     By failing to properly monitor and/or take appropriate action against Defendants

Hogue and Thompson, the Director Defendants breached their fiduciary duties under ERISA §

404(a)(1)(A) & (B), 29 U.S.C. § 1104(a)(1)(A) & (B).



                                                28
           Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 29 of 31



                                   ENTITLEMENT TO RELIEF

          97.    By virtue of the violations set forth in the foregoing paragraphs, Plaintiffs and the

Class are entitled to sue each of the Defendants pursuant to ERISA § 502(a)(2), 29 U.S.C. §

1132(a)(2), for relief on behalf of the Plan as provided in ERISA § 409, 29 U.S.C. § 1109,

including for recovery of any losses to the Plan, the recovery of any profits resulting from the

breaches of fiduciary duty, and such other equitable or remedial relief as the Court may deem

appropriate.

          98.    By virtue of the violations set forth in the foregoing paragraphs, Plaintiffs and the

Class are entitled pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), to sue each of the

Defendants for any appropriate equitable relief to redress the wrongs described above.

                                      PRAYER FOR RELIEF

          Wherefore Plaintiffs, on behalf of themselves and the Class, pray that judgment be

entered against Defendants on all claims, and request that the Court order or award the following

relief:

          A.     Declare any transaction that constitutes a prohibited transaction void and (1)

require Defendants Hogue and Thompson (or any other fiduciary or party-in-interest engaging in

these transactions) to disgorge any profits made as a result of such transaction; (2) declare a

constructive trust over the proceeds of any such transaction; or (3) order any other appropriate

equitable relief, whatever is in the best interest of the Plan.

          B.     Require that the proceeds of any recovery for the ESOP be allocated to the

accounts of participants in the Plan, other than the Defendants and other individuals excluded

from the Class.




                                                  29
         Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 30 of 31



       C.      Order the removal of Defendants from their positions as fiduciaries of the

Technical Associates ESOP and enjoin them from acting as fiduciaries for any employee benefit

plan that covers or includes any Technical Associates employees or any members of the Class.

       D.      Appoint an Independent Fiduciary to manage the Technical Associates ESOP to

be paid for by Defendants.

       E.      Order pursuant to ERISA § 206(d)(4) that any amount to be paid to the ESOP

accounts of the Class members can be satisfied by using or transferring any breaching fiduciary’s

ESOP account (or the proceeds of that account) to the extent of that fiduciary’s liability.

       F.      Require Defendants to pay attorneys’ fees and the costs of this action pursuant to

ERISA § 502(g)(1), 29 U.S.C. § 1132(g)(1), or order the payment of reasonable fees and

expenses to Plaintiffs’ Counsel on the basis of the common benefit or common fund doctrine (or

other applicable law) out of any money or benefit recovered for the Class in this action.

       G.      Award pre-judgment and post-judgment interest.

       H.      Award any other such relief the Court determines Plaintiffs and the Class are

entitled to pursuant to ERISA § 502(a), 29 U.S.C. § 1132(a) and pursuant to Rule 54(c) of the

Federal Rules of Civil Procedure or otherwise.

Dated: January 29, 2019                               Respectfully submitted


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                                                 30
Case 1:19-cv-00021-LAG Document 1 Filed 01/29/19 Page 31 of 31



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                              31
